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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE DISTRICT OF MARYLAND

IN THE MATTER oF THE
APPLICATION oF THE UNITED
sTATEs oF AMERiCA FoR A sEARCH 19 ' 0 6 2 l ditle
wARRANT To sEARCH THE case No.

CELLULAR TELEPHoNE LoCATED
AT ATF BALTlMoRE FIEL]) oFFICE
31 HoPKINs PLAZA, s“1 FLooR,
BALTIMoRE, MARYLANI) 21201

 

 

 

AFFIDAVIT IN SUPPORT OF A SEARCH AND SEIZURE WARRANT

I, Speoial Agent (“SA”) Terence Owen Byrne IlI of the Bureau of Alcohol, Tobacco,
Fireanns and Explosives (“ATF”) depose and state as folloWs:

l. This is an Afiidavit in support of a search Warrant authorizing the search of the
following property Which was seized on February 8, 2019 and is currently located at ATF
Baltimore Field Of`fice 31 Hopkins Plaza, Sth Floor, Baltimore, Maryland 21201:

a. A Wliite Apple lPhone, bearing IMEI: 3529790969]1721, cellular assigned call
number 202-62?-8537 (“Subject Electronic Device”), also described in
Attaclnnent A.

2. The applied for Warrant would authorize the forensic examination of the Subject
Electronic Device for the purpose of identifying electronically stored data particularly described
in Attachrnent B.

3. The Subj ect Electronic Device came into the ATF’s possession When it Was seized
during the search incident to arrest of a federal arrest Warrant for KALVIN GENE BEARS
(BEARS). BEARS Was arrested for possessing firearms in violation of 18 U.S.C. § 922 (g)(l). As

detailed beloW, probable cause exists to believe that the above-described property, also listed in

Attachment A, contains evidence, fruits, and instrumentalities of firearms possession, firearms

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trafficking, the identity of other members engaged in firearms trafficking, their methods of
firearms possession and trafficking, and the laundering of proceeds of firearms trafficking

4._ The information set forth in this affidavit derives from my personal knowledge and
observations, discussions With ATF employees, law enforcement officers, and witnesses, and
review of police reports and public records. Conversations and statements described herein are
related in substance and in part unless otherwise indicated. Because this Affidavit is being
submitted for the limited purpose of establishing probable cause for a search warrant, l have not
included every detail of every aspect of the investigation Rather, I have set forth only those facts
that I believe are necessary to establish probable cause. I have not, however, excluded any
information known to me that Would defeat a determination of probable cause.

AFFI_ANT BACKGROUND

5. I have been a Special Agent with the ATF, United States Department of Justice,
since November 2017. My responsibilities with ATF include the investigation of criminal
violations involving the unlawful use, manufacture and possession of` firearms and explosives ; acts
of arson and bombings; illegal trafficking of alcohol and tobacco products, and related offenses
I am assigned to the Baltimore Field Division, Group IlI, which investigates violations of federal
firearms laws, violent crimes, and armed narcotic trafficking Accordingly, I have participated in
illegal firearms trafficking investigations and arrests

6. Based upon this training and experience, l am familiar with the ways in which
firearm traffickers conduct their business, including, but not limited to, methods of illegally
importing and distributing firearms, use of communications facilities and transportation platforms
to arrange for and coordinate those distributions, use of codes to conduct their transactions, and

the financial vehicles used to launder the proceeds of illegal firearms transactions

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7. I also know, based upon this training and experience, that firearms traffickers use
cellular phones and “smart” phones to contact their associates, sources of supply, and their
customers They also use these devices to store information such as names, addresses, and phone
numbers of associates, sources of supply, and their customers, and logs of firearms sales.

PROBABLE CAUSE

8. ATF began investigating BEARS in September 2018 for engaging in the possession
of firearms by a prohibited person in violation of 18 U.S.C. § 922 (g)(l) and distribution and sale
of firearms in violation of 18 U.S.C. § 922 (a)(l) & (3), after a reliable confidential source (“CI”)l
provided information to investigators regarding firearms he purchased from BEARS. During the
course of the investigation, investigators conducted three controlled purchases of firearms from
BEARS: September 6, 2018, September 20, 2018, and December 6, 2018.2 The CI arranged the
September 20, 2018 and December 6, 2018 transactions by calling and/or texting with BEARS on
the Subjcct Electronic Device.

9. The Cl provided investigators the cellular phone number he used to communicate
with BEARS and investigators have verified that it is the same number as the Subject Electronic
Device’s assigned call number.3 Additionally, investigators reviewed the toll logs for the Subject

Electronic Device for the timef`rame of September 28, 2018 through November 26, 2018 and

 

1 CI-27135 is a registered confidential informant with ATF, and has been since September 2018. CI-27135
previously assisted HSI agents and provided reliable information in exchange for a dismissal of pending
charges. `
2 BEARS was previously convicted of a crime punishable by a term of imprisonment exceeding one year,
making BEARS a prohibited person. BEARS is not a licensed importer, licensed manufacture, or licensed
dealer of firearms

3 Investigators dialed the cellular phone number used by the CI to contact BEARS and witnessed the
incoming call number on the screen of the Subject Electronic Device.

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December ll, 2018 through February 8, 2019 (when the controlled purchases of firearms from
BEARS by the CI were occurring).4 A review of the toll records verified that the Cl’s own cellular
assigned call number had incoming and outgoing calls to the Subject Electronic Device during
that time.

10. In advance of the September 20, 2018 and December 6, 2018 transactions, BEARS
talked With the CI over the phone and sent the CI text messages, including photos of firearms,
setting up the transactions Before both transactions he sent photographs of firearms to the Cl and
sent the Cl text messages initiating the sales and discussing the price.

ll. For example, on December 6, 2018, at approximately 8:10 a.m., BEARS sent the
Cl a photo of two handguns from the Subject Electronic Device. BEARS included the message,
“on my way in town. I need 550” with the photo. Investigators believed BEARS was offering to
sell the Cl the handguns for $550. The Cl and BEARS exchanged additional text messages that
day and ultimately, the Cl purchased a SCCY CPX-2 9mm handgun, bearing serial number
1`93740, for $450 from BEARS.5

12. On January 24, 2019, a federal grand jury sitting in the District of Maryland
indicted BEARS on two counts of 18 U.S.C. § 922(g). Agents executed the arrest warrant the
following day at BEARS’s residence in Washington, D.C. They recovered the Subj ect Electronic

Device off of BEARS’s person.

 

4 Magistrate Judge J. Mark Coulson of the U.S. District Court for the District of Maryland authorized the
installation of a pen register for the number associated with the Subject Electronic Device (202-627-8537)
on September 28, 2018 and that authorization was renewed by Magistrate ludge Stephanie A. Gallagher on
December ll, 2018.
5 The handgun purchased was not one of the handguns depicted in the original text message

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CONCLUSION

1.3. Based on the information set forth in this affidavit, I believe that sufficient probable
cause exists to believe that BEARS used the Subject Electronic Device to further and as a tool to
commit violations of 18 U.S.C. § 922(g_) and 18 U.S.C. § 922(a). There is probable cause to believe
that evidence these offenses is contained within the Subject Electronic Device.

WHEREFORE, in consideration of the facts presented, l respectfully request that this Court
issue a search warrant for the Subject Electronic Device, and authorize the search the item
described in Attachment A and seizure of the information describe in Attachrnents B.

/W

Terence ffan Byi{ne' III
Special Agent, ATF

 

Swom to before me this /Z day of February, 2019. _ 6

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The onoraéle%. Mark Coulson §a;\ég€§r?`
Uni d States Magistrate Judge e%\;.‘\$"\c“
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